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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)
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     Local Counsel for the Official
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                                                                      Chapter 11
     In re:
                                                                      Case No. 22-19361 (MBK)
     BLOCKFI INC., et al.,
                                                                      Jointly Administered
                                  Debtors.1


 1
              The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax
              identification number, are: BlockFi Inc. (0015); BlockFi Trading LLC. (2487); BlockFi Lending LLC
              (5017); BlockFi Wallet LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A);
              BlockFi Investment Products LLC (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154).
              The location of the Debtors’ service address is 201 Montgomery Street, Suite 263, Jersey City, NJ 07302.
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     STATEMENT OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS IN
     SUPPORT OF CONFIRMATION OF THIRD AMENDED JOINT CHAPTER 11 PLAN
      OF BLOCKFI INC. AND ITS DEBTOR AFFILIATES PURSUANT TO CHAPTER 11
                           OF THE BANKRUPTCY CODE

         The Official Committee of Unsecured Creditors (the “Committee”) appointed in the

 above-captioned Chapter 11 cases of BlockFi, Inc. and its affiliated debtors (collectively, the

 “Debtors” or “BlockFi”), by and through its undersigned counsel, hereby submits this Reply (the

 “Reply”) in support of confirmation of the Third Amended Joint Chapter 11 Plan of BlockFi Inc.

 and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 1309] (as

 modified, amended or supplemented from time to time, the “Plan”),2 and in response to certain

 objections to the Plan (the “Objections”).3

                                                 STATEMENT

         1.      These cases have been hard. Customers of BlockFi have been separated from their

 money since November 10, 2022. Because the Debtors operated in a novel industry, certain legal

 tools available for other financial bankruptcies have been unavailable to the Debtors, unsettled

 questions of law needed to be resolved, and complicated insider claims needed to be investigated.

 Intercompany issues needed to be investigated, reconciled, and determined.                           Regulatory


 2
         Capitalized terms used and not defined herein have the terms ascribed to them in the Plan.
 3
         The Objections include: (1) Limited Objection of Ankura Trust Company, LLC to Third Amended Joint
         Chapter 11 Plan of BlockFi Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code
         [Docket No. 1478] (the “Ankura Objection”); (2) Objection of the FTX Debtors to (I) Confirmation of the
         Third Amended Joint Chapter 11 Plan of BlockFi Inc. and Its Debtor Affiliates and (II) Final Approval of
         the Debtors’ Disclosure Statement [Docket No. 1488] (the “FTX Objection”); (3) The Joint Liquidators’
         Limited Objection to Confirmation of Third Amended Joint Chapter 11 Plan of BlockFi Inc. and Its Debtor
         Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 1474] (the “3AC Objection”); (4)
         Objection of the United States Trustee to the Third Amended Joint Chapter 11 Plan of BlockFi Inc. and Its
         Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 1476] (the “UST Objection”);
         (5) Objection of Cameron Wyatt, Proposed Securities Class Action Lead Plaintiff, to (I) Confirmation of the
         Debtors’ Proposed Chapter 11 Plan and (II) Final Approval of the Disclosure Statement in Connection
         Therewith [Docket No. 1475] (the “Class Plaintiff Objection”) and (6) Objection to Debtors' Notice of
         Filing Technical Modifications to Third Amended Joint Chapter 11 Plan of BlockFi and its Debtor Affiliates
         Pursuant to Chapter 11 of the Bankruptcy Code and to Confirmation of the Plan [Docket No. 1600] (the
         “Lymn Objection”). The Committee understands several of the Objections to have been resolved.



                                                         2
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 impediments for distributions “in kind” needed to be investigated and ameliorated, and practical

 issues surrounding such distributions needed to be resolved. The estates, finally, needed to

 structure how they will recover money owed from FTX and its affiliated debtors, whose wrongful

 conduct caused these bankruptcy cases.

         2.      These cases have been extremely contentious for a long time, with deeply thought

 and deeply felt positions taken on a range of issues not limited to the conduct and treatment of

 insiders. Some weeks ago, with the assistance of the Court, the Committee and the Debtors finally

 reached a compromise to take BlockFi out of bankruptcy, return money to creditors, and prosecute

 claims against non-settling parties under a structure controlled by, and almost universally

 acceptable to, BlockFi’s creditors.

         3.      The Plan resolves all “insider” claims asserted by the estate, while reserving the

 right of customers to preserve any individual claims they may have. The Plan resolves any

 intercompany claims, allocating to each entity the assets (and liabilities) that it possessed on the

 filing date, including liabilities to other BlockFi entities.

         4.      Customers have been given an overwhelming level of detail on what transpired in

 this case: the filing with minimal redactions of two reports (the Committee’s, and the Debtors’)

 laying out their view of the causes of BlockFi’s collapse and the facts and circumstances

 surrounding BlockFi’s collapse. Those reports were incorporated by reference in the Disclosure

 Statement, and available on the docket for any interested creditor to read. Ultimately, this plan

 has been overwhelmingly accepted by every customer class. If the Plan is confirmed, the

 Committee is hopeful that distributions can commence this year.

         5.      As bitter as the process has been at times, it is worth noting that BlockFi may yet

 emerge from bankruptcy more swiftly than any comparable cryptocurrency debtor, and with less




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 than or likely less than the professional fees in other comparable cases. That BlockFi may emerge

 from bankruptcy and make certain distributions within the calendar year is, to put it lightly,

 anomalous; more specifically, it’s a testament to the fact that the Committee, Debtors and other

 key parties have engaged deeply in a variety of case issues and made difficult compromises to get

 the job done.

        6.       Certain of the Objections seem to say that the Plan Settlement was improperly

 structured or otherwise impermissible. Many of the Objections filed have been resolved. The

 remaining Objections should be overruled. Ultimately, none of the Objections identifies a fatal

 flaw in the Plan, nor offers any reason why the informed, overwhelming vote of BlockFi’s

 customers should be overturned, as will be addressed in greater detail by the Debtors in their reply

 brief. The Lymn Objection’s challenge to certain plan modifications that seeks to block the

 [Reorganized] Debtors from conducting an appropriate claims reconciliation is similarly without

 merit. The Plan Settlement was arrived upon following extraordinary diligence by the Committee

 and a highly adversarial process that resulted in significant concessions from the Debtors, and the

 Intercompany Settlement followed comprehensive diligence by the Committee and the Debtors

 regarding the validity of the intercompany claims, assets, and potential claims that could be

 asserted by one Debtor against another Debtor. The structure of the voluntary third-party releases

 and related relief is typical of cases of this nature and size, and broadly permissible.

        7.       It is time to end these cases and turn to distributing money to BlockFi’s customers,

 and recovering additional funds to increase those distributions. The Plan is the best option to do

 so in the shortest period of time. The Plan should be confirmed.




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